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 6
     Attorney for Asharon Bravo
 7
 8                              UNITED STATES DISTRICT COURT

 9                                    DISTRICT OF NEVADA

10
     UNITED STATES OF AMERICA,                          Case No. 2:14-cr-00103-GMN-VCF-1
11
                   Plaintiff,                           STIPULATION TO CONTINUE
12                                                      DEADLINES TO FILE
            v.
                                                        SUPPLEMENTAL TO MOTION
13
     ASHARON BRAVO,                                     FOR COMPASSIONATE RELEASE
14                                                      (ECF NO. 373) AND RESPONSE
                   Defendant.                           (First Request)
15
16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.
18   Trutanich, United States Attorney, and Elizabeth Olson White, Assistant United States
19   Attorney, counsel for the United States of America, and Rene L. Valladares, Federal Public
20   Defender, and Monique Kirtley, Assistant Federal Public Defender, counsel for Asharon Bravo,
21   that the deadline to the supplement Defendant’s Motion for Compassionate Release (ECF No.
22   373) be set for November 2, 2020; and that the deadline for the government’s response be
23   extended to November 16, 2020.
24
25
26
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                                                      10/15/20 Page 2 of 3




 1           This Stipulation is entered into for the following reasons:
 2           1.     Defendant filed a Pro Se Motion for Compassionate Release on September 28,
 3   2020. ECF No. 373.
 4           2.     Undersigned counsel was assigned to represent Defendant on October 15,
 5   2020. ECF No. 374.
 6           3.     On October 15, 2020, this Court ordered the FPD to file either a Supplement or
 7   Notice of Non-Supplementation to Defendant’s Motion for Compassionate Release by Monday,
 8   October 19, 2020.
 9           4.     Undersigned counsel needs additional time to review Defendant’s pro se motion,
10   medical records and to draft a Supplement, if necessary.
11           5.     The additional time requested herein is not sought for purposes of delay but
12   merely to allow counsel for Defendant sufficient time to effectively prepare a Supplement.
13           6.     Additionally, denial of this request for continuance could result in a miscarriage
14   of justice.
15           7.     After receiving the Supplemental motion, Government counsel will likewise
16   need additional time to review the Supplement and prepare and file the government’s response.
17           This is the first request to continue deadlines filed herein.
18           DATED this 15th day of October 2020.
19
20    RENE L. VALLADARES                                NCHOLAS A. TRUTANICH
      Federal Public Defender                           United States Attorney
21
22       /s/ Monique Kirtley                                /s/ Elizabeth O. White
      By_____________________________                   By_____________________________
23    MONIQUE KIRTLEY                                   ELIZABETH O. WHITE
      Assistant Federal Public Defender                 Assistant United States Attorney
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                                                       2
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 1                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 2
 3   UNITED STATES OF AMERICA,                         Case No. 2:14-cr-00103-GMN-VCF-1
 4                 Plaintiff,                          ORDER
 5          v.
 6   ASHARON BRAVO,
 7                 Defendant.
 8
                                             ORDER
 9
10          IT IS THEREFORE ORDERED that defense counsel’s supplement to Defendant’s

11   Motion for Compassionate Release (ECF No. 373) currently due on Monday, October 19, 2020,

12   be vacated and continued to Monday, November 2, 2020; and that the Government’s response

13   to Defendant’s supplement shall be due on Monday, November 16, 2020.
                        17 day of October 2020.
            DATED this ____
14
15
16                                             ___________________________________
                                               Gloria M. Navarro, District Judge
17
                                               UNITED STATES DISTRICT COURT
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